       Case 2:21-cv-00130-SMJ     ECF No. 7   filed 06/08/21   PageID.168 Page 1 of 2




1                                                                           FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON


2                                                                  Jun 08, 2021
                                                                       SEAN F. MCAVOY, CLERK
3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 2:21-cv-00130-SMJ
5
                              Plaintiff,
6                                               ORDER APPROVING
                 v.                             STIPULATED CONSENT DECREE
7
     MULTISTAR INDUSTRIES, INC.,
8
                              Defendant.
9

10         Before the Court, without oral argument, is Plaintiff United States of

11   America’s Unopposed Motion to Enter Consent Decree, ECF No. 3. The Court

12   ordered the parties to address a clerical error in the original Consent Decree, ECF

13   No. 3-1, which the parties did. ECF Nos. 5, 6. Having reviewed the amended

14   Consent Decree, ECF No. 6-1, and the pleadings and file in this matter, the Court

15   finds the proposed consent decree is procedurally and substantively fair and

16   reasonable. Accordingly, under Federal Rule of Civil Procedure 54, the Court grants

17   the United States’ motion to approve the parties’ stipulated Consent Decree.

18         IT IS HEREBY ORDERED:

19         1.    The United States’ Unopposed Motion to Enter Consent Decree, ECF

20               No. 3, is GRANTED.




     ORDER APPROVING STIPULATED CONSENT DECREE – 1
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1          2.     The parties’ amended Consent Decree, ECF No. 6-1, is APPROVED

2                 and ADOPTED as the final judgment of this Court.

3          3.     The Clerk’s office is directed to docket the approved and adopted

4                 consent decree, ECF No. 6-1, with this Court’s signature.

5          4.     All hearings and other deadlines are STRICKEN.

6          5.     The Clerk’s Office is directed to CLOSE this file.

7          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

8    provide copies to all counsel.

9          DATED this 8th day of June 2021.

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                        _________________________
11                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER APPROVING STIPULATED CONSENT DECREE – 2
